Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA, TUCSON DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Jamie
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          Kaye
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Baker
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years        Jamie Baker
                                     Jamie Baker-Woelfel
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-4803
     Individual Taxpayer
     Identification number
     (ITIN)




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                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 7990 E Snyder Rd
                                 Apt 9106
                                 Tucson, AZ 85750-9018
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Pima
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other           Over the last 180 days before filing this petition, I have
                                        district.                                                       lived in this district longer than in any other district.

                                       I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




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Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




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Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                           50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Jamie Kaye Baker
                                   Jamie Kaye Baker                                                   Signature of Debtor 2
                                   Signature of Debtor 1

                                   jamiekbaker@outlook.com
                                   Email Address of Debtor 1                                          Email Address of Debtor 2

                                   Executed on     September 26, 2019                                 Executed on
                                                   MM / DD / YYYY                                                      MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Stephen Trezza                                                    Date         September 26, 2019
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Stephen Trezza
                                Printed name

                                Arizona Law Group Of Trezza & Assoc LLC
                                Firm name


                                4011 E Broadway Blvd # 500
                                Tucson, AZ 85711-3451
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         attorney7335@gmail.com
                                014682
                                Bar number & State




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                                                              15557-AZ-CC-033451408




                    CERTIFICATE OF COUNSELING

I CERTIFY that on September 23, 2019, at 1:18 o'clock PM MDT, Jamie Baker
received from Urgent Credit Counseling, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   September 23, 2019                     By:      /s/Tiffany Terrell


                                               Name: Tiffany Terrell


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


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            1st Midamerica Credit
            419 N Shamrock St
            East Alton, IL 62024-1174


            1st Midamerica Credit Union
            Attn: Bankruptcy
            419 N Shamrock St
            East Alton, IL 62024-1174


            A Storage Inn
            4011 Humbert Rd
            Alton, IL 62002-7114


            ADT Security
            3190 S Vaughn Way
            Aurora, CO 80014-3512


            Aes/Bancorpsouth Bank
            Attn: Bankruptcy
            PO Box 2461
            Harrisburg, PA 17105-2461


            Aes/mohela
            PO Box 61047
            Harrisburg, PA      17106-1047


            American Air Heating & Cooling
            191 N Old Saint Louis Rd # N
            Wood River, IL 62095-1434




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            Americas Servicing Co
            PO Box 10328
            Des Moines, IA 50306-0328


            Bank of America
            PO Box 982238
            El Paso, TX 79998-2238


            Bank of America
            4909 Savarese Cir
            Tampa, FL 33634-2413


            Bank of America
            Attn: Bankruptcy
            PO Box 982238
            El Paso, TX 79998-2238


            Bankamerica
            4909 Savarese Cir
            Tampa, FL 33634-2413


            Bridgecrest
            PO Box 29018
            Phoenix, AZ 85038-9018


            Bridgecrest
            7300 E Hampton Ave Ste 100
            Mesa, AZ 85209-3324




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            Capital One
            Attn: Bankruptcy
            PO Box 30285
            Salt Lake City, UT       84130-0285


            Capital One
            PO Box 5253
            Carol Stream, IL       60197-5253


            Capital One Bank USA N
            15000 Capital One Dr
            Richmond, VA 23238-1119


            Cb Indigo/gf
            PO Box 4499
            Beaverton, OR       97076-4499


            Ces/wells Fargo
            Utica, NY 13501


            Chase Auto Finance
            Attn: Bankruptcy
            PO Box 901076
            Fort Worth, TX 76101-2076


            Chase Card Services
            Attn: Bankruptcy
            PO Box 15298
            Wilmington, DE 19850-5298




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            Citibank
            Attn: Recovery/Centralized Bankruptcy
            PO Box 790034
            Saint Louis, MO 63179-0034


            Citicard
            Attn: Bankruptcy
            PO Box 6500
            Sioux Falls, SD 57117-6500


            Citicards Cbna
            PO Box 6217
            Sioux Falls, SD      57117-6217


            Citiflex/Citibank Sd,N
            PO Box 6241
            Sioux Falls, SD 57117-6241


            City of Alton
            PO Box 188
            Alton, IL 62002-0188


            Comenity Bank/Ann Taylor
            Attn: Bankruptcy Dept
            PO Box 182125
            Columbus, OH 43218-2125


            Comenity Bank/Anntylr
            PO Box 182273
            Columbus, OH 43218-2273




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            Comenity Bank/Express
            PO Box 182789
            Columbus, OH 43218-2789


            Comenity Bank/Express
            Attn: Bankruptcy
            PO Box 182125
            Columbus, OH 43218-2125


            Comenity Bank/Maurices
            Attn: Bankruptcy
            PO Box 182125
            Columbus, OH 43218-2125


            Comenity Bank/Maurices
            PO Box 182789
            Columbus, OH 43218-2789


            Comenity Bank/Victoria Secret
            Attn: Bankruptcy
            PO Box 182125
            Columbus, OH 43218-2125


            Comenity Bank/Wayfair
            Attn: Bankruptcy Dept
            PO Box 182125
            Columbus, OH 43218-2125




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            Comenitybank/New York
            Attn: Bankruptcy
            PO Box 18215
            Columbus, OH 43081


            Comenitybank/Ny&Co
            PO Box 182789
            Columbus, OH 43218-2789


            Comenitybank/victoria
            PO Box 182789
            Columbus, OH 43218-2789


            Comenitybank/wayfair
            PO Box 182789
            Columbus, OH 43218-2789


            Conduent/Wells Fargo
            Attn: Claims Department
            PO Box 7051
            Utica, NY 13504-7051


            Department of Education/Nelnet
            Attn: Claims
            PO Box 82505
            Lincoln, NE 68501-2505


            Dept of Education/Neln
            PO Box 82561
            Lincoln, NE 68501-2561




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            Deptartment Store National Bank/Macy's
            Attn: Bankruptcy
            9111 Duke Blvd
            Mason, OH 45040-8999


            Discover Fin Svcs LLC
            PO Box 15316
            Wilmington, DE 19850-5316


            Discover Financial
            Attn: Bankruptcy Department
            PO Box 15316
            Wilmington, DE 19850-5316


            Discoverbank
            PO Box 15316
            Wilmington, DE      19850-5316


            Dsnb Macys
            PO Box 8218
            Mason, OH 45040-8218


            Edfinancial Services
            Attn: Bankruptcy
            PO Box 36008
            Knoxville, TN 37930-6008


            Edfinancial Services L
            120 N Seven Oaks Dr
            Knoxville, TN 37922-2359




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            Fed Loan Serv
            PO Box 60610
            Harrisburg, PA      17106-0610


            FedLoan Servicing
            Attn: Bankruptcy
            PO Box 69184
            Harrisburg, PA 17106-9184


            Genesis Bc/Celtic Bank
            Attn: Bankruptcy
            PO Box 4477
            Beaverton, OR 97076-4401


            Jpmcb Auto
            PO Box 901003
            Ft Worth, TX 76101-2003


            Jpmcb Card
            PO Box 15298
            Wilmington, DE      19850-5298


            Kohls/Capital One
            Attn: Credit Administrator
            PO Box 3043
            Milwaukee, WI 53201-3043


            Kohls/capone
            N56 W 17000 Ridgewood Dr
            Menomonee Falls, WI 53051




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            Midwest Members Credit
            PO Box 619
            Wood River, IL 62095-0619


            MOHELA
            Attn: Bankruptcy
            633 Spirit Dr
            Chesterfield, MO       63005-1243


            Mohela
            633 Spirit Dr
            Chesterfield, MO       63005-1243


            Mohela/zions
            633 Spirit Dr
            Chesterfield, MO       63005-1243


            Mr. Cooper
            Attn: Bankruptcy
            8950 Cypress Waters Blvd
            Coppell, TX 75019-4620


            Mr. Cooper
            Attn: Bankruptcy
            PO Box 619098
            Dallas, TX 75261-9098


            Nationstar/mr Cooper
            350 Highland St
            Houston, TX 77009-6623




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            Navient/glelsi
            PO Box 7860
            Madison, WI 53707-7860


            Navient/Sallie Mae
            Attn: Bankruptcy
            PO Box 9500
            Wilkes Barre, PA 18773-9500


            Onemain
            PO Box 1010
            Evansville, IN      47706-1010


            Onemain Financial
            Attn: Bankruptcy
            601 NW 2nd St # 300
            Evansville, IN 47708-1013


            PennyMac
            3043 Townsgate Rd Ste 200
            Westlake Village, CA 91361-5860


            PennyMac Loan Services
            Attn: Bankruptcy
            PO Box 514387
            Los Angeles, CA 90051-4387


            Pennymac Loan Services
            6101 Condor Dr
            Moorpark, CA 93021-2602




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            Pennymac Loan Services
            Correspondence Unit/Bankruptcy
            PO Box 514387
            Los Angeles, CA 90051-4387


            PennyMac Loan Servicing
            PO Box 9109
            Temecula, CA 92589


            PennyMac Loan Servicing
            PO Box 30597
            Los Angeles, CA 90030


            Sallie Mae
            PO Box 6299
            Wilmington, DE      19804-0899


            Sallie Mae Fdr Cbr
            PO Box 9655
            Wilkes Barre, PA 18773-9655


            Seterus Inc
            8950 Cypress Waters Blvd
            Coppell, TX 75019-4620


            Slmae/glelsi
            2401 International Ln
            Madison, WI 53704-3121




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            Specialized Loan Servi
            8742 Lucent Blvd Ste 300
            Highlands Ranch, CO 80129-2386


            Specialized Loan Servicing
            PO Box 620188
            Atlanta, GA 30362


            Specialized Loan     Servicing/Sls
            Attn: Bankruptcy     Dept
            8742 Lucent Blvd     Ste 300
            Highlands Ranch,     CO 80129-2386


            Standard Guaranty Ins Co
            PO Box 50355
            Atlanta, GA 30302


            Syncb/amazon
            PO Box 965015
            Orlando, FL 32896-5015


            Syncb/Gap
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060


            Syncb/gap
            PO Box 965005
            Orlando, FL 32896-5005




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            Syncb/jcp
            PO Box 965007
            Orlando, FL 32896-5007


            Syncb/Old Navy
            PO Box 965005
            Orlando, FL 32896-5005


            Syncb/qvc
            PO Box 965005
            Orlando, FL 32896-5005


            Syncb/smrtcn
            PO Box 965005
            Orlando, FL 32896-5005


            Syncb/Walmart
            PO Box 965024
            Orlando, FL 32896-5024


            Syncb/Walmart DC
            PO Box 965024
            Orlando, FL 32896-5024


            Syncb/zulily
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060




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            Syncb/zulily
            C/o
            PO Box 965017
            Orlando, FL 32896-5017


            Synchrony Bank/ Jc Penneys
            Attn: Bankruptcy
            PO Box 956060
            Orlando, FL 32801-5060


            Synchrony Bank/ Old Navy
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060


            Synchrony Bank/Amazon
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060


            Synchrony Bank/Paypal Cr
            Attn: Bankruptcy Dept
            PO Box 965060
            Orlando, FL 32896-5060


            Synchrony Bank/Qvc
            Attn: Bankruptcy Dept
            PO Box 965060
            Orlando, FL 32896-5060




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            Synchrony Bank/Walmart
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060


            Toyota Financial Services
            Attn: Bankruptcy Dept
            PO Box 8026
            Cedar Rapids, IA 52408-8026


            Toyota Motor Credit
            PO Box 9786
            Cedar Rapids, IA 52409-0004


            Upstart
            Attn: Bankruptcy
            PO Box 1503
            San Carlos, CA 94070-7503


            Upstart Network Inc.
            PO Box 61203
            Palo Alto, CA 94306-6203


            US Bank
            4325 17th Ave S
            Fargo, ND 58125-6200




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            US Bank/Rms Cc
            Attn: Bankruptcy
            PO Box 5229
            Cincinnati, OH 45201-5229


            US Dep Ed
            PO Box 5609
            Greenville, TX      75403-5609


            US Dept of Education
            Attn: Bankruptcy
            PO Box 16448
            Saint Paul, MN 55116-0448


            Vantage Credit Union
            4020 Fee Fee Rd
            Bridgeton, MO 63044-2708


            We Efs
            PO Box 5185
            Sioux Falls, SD      57117-5185


            Wells Fargo Bank
            MAC F823F-02F
            PO Box 10438
            Des Moines, IA 50306-0438




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            Wells Fargo Bank NA
            Attn: Bankruptcy
            1 Home Campus # MAC X2303-01A
            Des Moines, IA 50328-0001




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